                Case 1:17-cv-12103-FDS Document 38 Filed 07/25/18 Page 1 of 1



ALEX LIPMAN
direct dial: (212) 209-4919
ALipman@brownrudnick.com



                                                       July 25, 2018



VIA ECF FILING
The Honorable F. Dennis Saylor IV
John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 2300
Boston, MA 02210

RE:       Jalbert v. SEC, Civ. Action No. 17-cv-12103-FDS

Dear Judge Saylor:

        During oral argument on the Securities and Exchange Commission’s Motion to Dismiss,
counsel for Plaintiff Craig R. Jalbert, in his capacity as trustee of the F2 Liquidating Trust,
referred to the case of Kuretski v. Commissioner of Internal Revenue Service, although
mistakenly stated that Kuretski is cited in Plaintiff’s opposition brief. It is not, but the citation to
Kuretski is 755 F.3d 929, 937-38 (D.C. Cir. 2014).

        Additionally, counsel referred to an amicus curiae brief that was filed in Kokesh v. SEC,
137 S. Ct. 1635 (2017). That brief, Brief for Mark Cuban as Amicus Curiae in Support of
Petitioner, Kokesh v. SEC, 137 S. Ct. 1635 (Mar. 3, 2017), which is cited on pages 3-4 of
Plaintiff’s opposition brief in this matter, can be found at 2017 WL 929704.



                                                       Respectfully submitted,

                                                       BROWN RUDNICK LLP




                                                       Alex Lipman

cc:         All counsel of record (via ECF)
